      Case 1:15-cr-00077-JRH-BKE Document 258 Filed 12/23/15 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION


UNITED STATES OF AMERICA


      v.                                              CR 115-077


BRANDON CHARLES WRIGHT
EUGENE MICHAEL GROSS



                                      ORDER



      After a careful, de novo review of the record, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed. (Doc. no. 253.)

Accordingly, the Court ADOPTS the Report and Recommendation of the Magistrate Judge

as its opinion and DENIES Defendants Gross' and Wright's motions to suppress. (Doc. nos.

169, 183.)

       SO ORDERED this^ffclay of Zkci^fcA. ,20l5Tat Augusta, Georgia.


                                         HONORABLE J. RANDAL HALL
                                         UNITED/STATES DISTRICT JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA
